            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                     Plaintiff,        )
                                       )
     vs.                               )     No. 14-03106-11-CR-S-MDH
                                       )
DONETTE C. DAVIS,                      )
                                       )
                     Defendant.        )


                     REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY

     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One and admitted to the Forfeiture

Allegation Six of the Second Superseding Indictment filed on July

22, 2015.   After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined

that the guilty plea was knowledgeable and voluntary, and that the

offense charged is supported by a factual basis for each of the

essential elements of the offense.     I therefore recommend that the

plea of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.



Date: December 5, 2016                  /s/ David P. Rush
                                       DAVID P. RUSH
                                       UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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